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      In The United States Court of Federal Claims
                                             No. 06-383T

                                      (Filed: September 26, 2008)
                                              __________
 HARRY G. SCHORTMANN, JR., and
 JACQUELINE SCHORTMANN,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                              _________

                                              ORDER
                                             __________

       On September 26, 2008, plaintiff filed an unopposed motion requesting thirty-one day
extensions for completing discovery and for filing a joint status report in this case. The court
hereby GRANTS the motion. Accordingly:

       1.       On or before October 31, 2008, discovery shall be completed; and

       2.       On or before November 14, 2008, the parties shall file a joint status
                report indicating how this case should proceed.

       IT IS SO ORDERED.




                                                       s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
